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                    Exhibit 9
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    From:            Melinda R. Coolidge
    To:              Battaglia, Lauren E.; Cohen-Millstein, Peter; Sega, Eric Richard; Breed, Logan M.
    Cc:              Isaacs, Miranda (ATR); Owen, Jay (ATR); Huppert, Matthew (ATR); Dahlquist, David (ATR)
    Subject:         RE: ASSA ABLOY Monitoring Trustee
    Date:            Monday, June 3, 2024 10:34:20 AM
    Attachments:     image001.png
                     image002.png


[EXTERNAL]
Counsel,

Per Ms. Isaacs’ letter of May 31, below is a chart separating the fees billed in the outstanding invoices such that it is clear which fees are related to the
compliance workstreams and which are related to the competitive intensity workstreams.


                                                                         Hausfeld                                                    Bates White            Bates White
                                                   Hausfeld                                     StoneTurn
      Invoice                      Hausfeld                             Competitive                               Bates White        Competitive            Competitive
                    Month                         Compliance                                    Compliance                                                                        Expenses             Total
      number                        Total                                Intensity                                   Total            Intensity              Intensity
                                                  Workstream                                    Workstream
                                                                        Workstream*                                                  Workstream*           Benchmarking

      2002325       Oct-23         $78,101           $54,776                 $23,325            $83,130.00        $50,985.00           $50,985.00               N/A                $10.76          $212,226.76
      2002358       Nov-23         $151,090          $117,684                $33,406            $159,512.50       $123,616.00          $123,616.00              N/A               $4,966.85        $439,185.35
      2002418       Jan-24         $165,257          $150,806                $14,451            $306,090.00       $197,917.00          $197,917.00              N/A                $517.32         $669,781.32
      2002461       Feb-24         $146,406          $121,368                $25,038            $161,372.00       $194,921.50          $194,921.50              N/A               $2,480.88        $505,180.38
      2002473       Mar-24         $171,486          $109,506                $61,980            $212,763.50       $192,424.50           $73,310.00           $119,114.50          $1,930.74        $578,604.74


    * Within the competitive intensity workstreams, we have separated work into two categories, as we understood from our meeting on May 28 that ASSA
    appreciates and does not dispute the need for the monitoring trustee team to gain an understanding of the record in the litigation related to competitive
    intensity. Fees with an “*” pertain to analysis of the expert reports and the litigation record for purposes of the competitive intensity analysis, as well as
    project management, planning, and strategy around the competitive intensity analysis and reporting to DOJ on those plans.

    We understood from our meeting that ASSA does not believe that the monitoring team should commence any analysis of changes to competitive intensity
    (including the benchmarking necessary to determine the state of competitive intensity pre-merger and divestiture) until 2026. Bates White commenced
    this work in March, and the fees related to this analysis ($119,114.50) are broken out separately in the chart above.

    We look forward to prompt payment of these invoices in full in accordance with the Final Judgment.

    Best regards,


MELINDA R. COOLIDGE         ​




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​


From: Isaacs, Miranda (ATR) <Miranda.Isaacs@usdoj.gov>
Sent: Friday, May 31, 2024 3:18 PM
To: Battaglia, Lauren E. <lauren.battaglia@hoganlovells.com>
Cc: Melinda R. Coolidge <mcoolidge@hausfeld.com>; Cohen-Millstein, Peter <peter.cohen-millstein@hoganlovells.com>; Sega, Eric Richard
<eric.sega@hoganlovells.com>; Breed, Logan M. <logan.breed@hoganlovells.com>; Owen, Jay (ATR) <Jay.Owen@usdoj.gov>; Huppert, Matthew (ATR)
<Matthew.Huppert@usdoj.gov>; Dahlquist, David (ATR) <David.Dahlquist@usdoj.gov>
Subject: ASSA ABLOY Monitoring Trustee


Good afternoon,

Please see the attached correspondence.

Sincerely,

Miranda Isaacs
Trial Attorney, Defense, Industrials, and Aerospace Section
Antitrust Division, US Department of Justice
450 Fifth Street NW
Washington, DC 20530
